Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 1 of 34 Page ID #:352




   1
       NIELSEN MERKSAMER
  2      PARRINELLO GROSS & LEONI LLP
       MARGUERITE MARY LEONI (SBN 101696)
  3
       CHRISTOPHER E. SKINNELL (SBN 227093)
  4    2350 Kerner Boulevard, Suite 250
  5
       San Rafael, California 94901
       TELEPHONE: (415) 389-6800
  6    FACSIMILE: (415) 388-6874
  7    Email: mleoni@nmgovlaw.com
       Email: cskinnell@nmgovlaw.com
  8

  9    Attorneys for Intervener-Defendants
       INDEPENDENT VOTER PROJECT,
 10
       CALIFORNIANS TO DEFEND THE OPEN
  11   PRIMARY, ABEL MALDONADO AND
 12
       DAVID TAKASHIMA

 13                        IN THE UNITED STATES DISTRICT COURT
 14
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
 15

 16
       ELISE BROWN,                              ) Case No.: 12-cv-05547-PA-SPx
                                                 )
 17                        Plaintiff,            ) INTERVENERS’ NOTICE
                                                 )
 18          vs.                                 ) OF MOTION & MOTION
                                                 ) TO DISMISS FOR LACK
 19                                              )
       DEBRA BOWEN, in her official capacity as ) OF STANDING &
 20    California Secretary of State,            ) FAILURE TO STATE A
                                                 )
                                                 ) CLAIM [FRCP 12(b)(1) &
 21                       Defendant.             ) 12(b)(6)]
 22                                              )
                                                 )
 23
       INDEPENDENT VOTER PROJECT,                ) JUDGE: Hon. Percy Anderson
       CALIFORNIANS TO DEFEND THE OPEN ) COURTROOM: 163
                                                 )
 24    PRIMARY, ABEL MALDONADO AND               ) HEARING DATE: Oct. 1, 2012
 25
       DAVID TAKASHIMA,                          ) HEARING TIME: 1:30 p.m.
                                                 )
                                                 )
 26                       Intervener-Defendants. )
                                                 )
 27                                              )
 28


       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 2 of 34 Page ID #:353




   1
                                          TABLE OF CONTENTS

  2                                                                                                   Page(s)
  3
       NOTICE OF MOTION & MOTION ...................................................................ix
  4
       POINTS & AUTHORITIES ................................................................................. 1
  5
       I.     INTRODUCTION ...................................................................................... 1
  6

  7    II.    FACTUAL BACKGROUND & LITIGATION HISTORY ............................3
  8           A.      Proposition 14 (Top Two Candidate Open Primary Act) ................3
  9
              B.      Proposition 14 Was Consciously Modeled On Washington
 10                   State’s Top-Two System, Which Has Been Upheld
  11
                      Against Both Facial & As-Applied Challenges ................................ 4

 12                   1.      Wash. State Grange v. Wash. Republican Party,
                              552 U.S. 442 (2008) (“Washington I”)................................. 4
 13

 14                   2.      As-Applied Claims Were Rejected In Wash. State
                              Republican Party v. Wash. State Grange, 676 F.3d
 15
                              784 (9th Cir. Jan. 19, 2012) (“Washington II”) .....................5
 16
              C.      Prior Unsuccessful Litigation Against Proposition 14 .................... 7
 17

 18
                      1.      Field v. Bowen (S.F. Superior Court/Cal. Ct. App.) .............. 7

 19                   2.      Chamness v. Bowen (C.D. Cal.) ............................................. 7
 20
                      3.      Rubin v. Bowen (Alameda Superior Court).......................... 8
 21
                      4.      Previous proceedings in this case ......................................... 9
 22
       III.   KEY ALLEGATIONS IN THE FIRST AMENDED COMPLAINT ............ 9
 23

 24    IV.    STANDARD GOVERNING MOTIONS TO DISMISS UNDER
              FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1) & (6)...................... 10
 25

 26           A.      Challenge to Standing Under Federal Rule 12(b)(1) ..................... 10
 27           B.      Failure To State A Claim Under Federal Rule 12(b)(6) ................ 11
 28


       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                               CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                                         Page i
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 3 of 34 Page ID #:354




   1
       V.     EACH OF PLAINTIFF’S FOUR CLAIMS FOR RELIEF IS
              FATALLY DEFECTIVE, AND SHOULD BE DISMISSED WITH
  2           PREJUDICE ............................................................................................ 12
  3
              A.      Plaintiff Lacks Standing To Bring Her First Claim For
  4                   Relief, That Proposition 14 Violates The Freedom of
  5
                      Association, And That Claim Is Also Foreclosed By Two
                      Controlling Cases: Washington I and Washington II .................. 12
  6

  7
                      1.      Plaintiff’s lack of standing .................................................... 13

  8                   2.      Failure to state a claim ......................................................... 13
  9           B.      Plaintiff’s First And Second Claims For Relief Should Be
 10                   Dismissed, To The Extent They Allege Racial Vote
                      Dilution In Violation Of The Fourteenth And Fifteenth
  11
                      Amendments, Because They Fail To State A Claim ...................... 14
 12
              C.      Plaintiff Third Claim For Relief Has Not Stated A Claim
 13                   Under Section 2 Of The Voting Rights Act .................................... 16
 14
              D.      Plaintiff’s Fourth Claim For Relief Has Not Stated A
 15                   Claim Under The Privileges & Immunities Clauses Of The
 16                   Fourteenth Amendment Or Article IV, § 2, cl. 1............................ 21
 17    VI.    CONCLUSION ........................................................................................ 22
 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                                  CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                                            Page ii
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 4 of 34 Page ID #:355




   1                                    TABLE OF AUTHORITIES
  2
                                                                                                         Page(s)
  3    CASES
  4    Anderson v. Celebrezze,
  5      460 U.S. 780 (1983) ..................................................................................... 12
  6    Ashcroft v. Iqbal,
  7      556 U.S. 662 (2009) ..................................................................................... 11
  8    Baird v. Consolidated City of Indianapolis,
  9
         976 F.2d 357 (7th Cir. 1992), cert. denied, 508 U.S. 907 (1993) .......2, 16, 17

 10    Baldwin v. Fish & Game Comm’n,
         436 U.S. 371 (1978) ..................................................................................... 22
  11

 12    Balistreri v. Pacifica Police Dep’t,
         901 F.2d 696 (9th Cir. 1990) ........................................................................ 14
 13

 14    Bartlett v. Strickland,
         556 U.S. 1 (2009) ................................................................................... 20, 21
 15

 16
       Beck v. Ysursa,
         2007 U.S. Dist. LEXIS 86928 (D. Idaho Nov. 27, 2007) ............................ 13
 17
       Bell Atlantic Corp. v. Twombly,
 18
          550 U.S. 544 (2007) ..................................................................................... 11
 19
       Burdick v. Takushi,
 20
         504 U.S. 428 (1992) ..................................................................................... 14
 21
       Cal. Democratic Party v. Jones,
 22
         530 U.S. 567 (2000) ............................................................................. 4, 5, 13
 23
       Chamness v. Bowen,
 24      Case No. 11-cv-01479-ODW-FFM (C.D. Cal. filed Feb. 17, 2011) .................. 7
 25
       Chamness v. Bowen,
 26      2011 U.S. Dist. LEXIS 94876 (C.D. Cal. Aug. 23, 2011) ............................... 8
 27
       Chamness v. Bowen,
 28      Case No. 11-55534 (9th Cir. filed Mar. 30, 2011) ........................................... 7

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                                 CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                                          Page iii
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 5 of 34 Page ID #:356




   1
       Chamness v. Bowen,
         Case No. 11-56449 (9th Cir. filed Aug. 24, 2011) .......................................... 8
  2
       Chandler v. State Farm Mut. Auto. Ins. Co.,
  3
         598 F.3d 1115 (9th Cir. 2010) ....................................................................... 10
  4
       Conservation Force v. Salazar,
  5
         646 F.3d 1240 (9th Cir. 2011) ...................................................................... 14
  6
       Democratic Party of the United States v. Wisc. ex rel. La Follette,
  7
         450 U.S. 107 (1981) ...................................................................................... 13
  8
       Democratic Party v. Reed,
  9      343 F.3d 1198 (9th Cir. 2003) ....................................................................... 4
 10
       Dudum v. Arntz,
  11     640 F.3d 1098 (9th Cir. 2011) ...................................................................... 12
 12
       Fayer v. Vaughn,
 13      649 F.3d 1061 (9th Cir. 2011)....................................................................... 11
 14
       Field v. Bowen,
 15       199 Cal. App. 4th 346 (1st Dist. 2011) ............................................................ 7
 16    Field v. Superior Court,
 17       Case No. A129829 (Cal. Ct. App. 1st Dist.) .................................................... 7
 18    Field v. Superior Court,
 19
          Case No. S188436 (Cal.)................................................................................. 7
 20    Gompper v. VISX, Inc.,
 21
         298 F.3d 893 (9th Cir. 2002)....................................................................... 11

 22    Growe v. Emison,
         507 U.S. 25 (1993) ....................................................................................... 20
 23

 24    Hague v. Committee for Indus. Org.,
         307 U.S. 496 (1939) .................................................................................... 22
 25

 26
       Ileto v. Glock, Inc.,
          349 F.3d 1191 (9th Cir. 2003) ...................................................................... 11
 27

 28


       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                                 CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                                          Page iv
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 6 of 34 Page ID #:357




   1
       Johnson v. Bredesen,
         624 F.3d 742 (6th Cir. 2010), reh’g en banc denied, 2010 U.S. App.
  2      LEXIS 26390 (6th Cir. Dec. 17, 2010), cert. denied sub nom.,
  3      Johnson v. Haslam, 563 U.S. __, 131 S. Ct. 2903 (U.S. 2011) ................... 22
  4    LaRouche v. Fowler,
  5
         152 F.3d 974 (D.C. Cir. 1998) ....................................................................... 12
  6    League of United Latin Am. Citizens, Council No. 4434 v. Clements,
  7
         999 F.2d 831 (5th Cir. 1993) (en banc) ........................................................ 18

  8    Lopez v. County of Merced,
         473 F. Supp. 2d 1072 (E.D. Cal. 2007) ........................................................ 21
  9

 10    Lucas v. Townsend,
         967 F.2d 549 (11th Cir. 1992) (per curiam) ................................................. 15
  11

 12
       Mack v. South Bay Beer Distribs.,
         798 F.2d 1279 (9th Cir. 1986) ................................................................. 11, 17
 13

 14
       McKay v. Thompson,
         226 F.3d 752 (6th Cir. 2000), reh’g and reh’g en banc denied, 2000
 15      U.S. App. LEXIS 27840 (6th Cir. Oct. 27, 2000), cert. denied, 532
 16      U.S. 906 (2001) ........................................................................................... 22
 17    Mobile v. Bolden,
 18
         446 U.S. 55 (1980) ....................................................................................... 18

 19    Mullis v. United States Bankruptcy Court,
         828 F.2d 1385 (9th Cir. 1987) ................................................................. 11, 17
 20

 21    NAACP v. Jones,
         131 F.3d 1317 (9th Cir. 1997) ........................................................................ 15
 22

 23    Navarro v. Block,
         250 F.3d 729 (9th Cir. 2001) ....................................................................... 11
 24

 25
       Osburn v. Cox,
         369 F.3d 1283 (11th Cir.), cert. denied, 543 U.S. 943 (2004) .......... 13, 15, 19
 26
       Partnoy v. Shelley,
 27
         277 F. Supp. 2d 1064 (S.D. Cal. 2003)......................................................... 12
 28


       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                                  CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                                            Page v
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 7 of 34 Page ID #:358




   1
       Reno v. Bossier Parish Sch. Bd.,
         520 U.S. 471 (1997) ...................................................................................... 15
  2
       Reno v. Bossier Parish Sch. Bd.,
  3
         528 U.S. 320 (2000) .................................................................................... 15
  4
       Righeimer v. Jones,
  5
          2000 U.S. Dist. LEXIS 13313 (E.D. Cal. Sept. 14, 2000) ............................ 13
  6
       Rubin v. Bowen,
  7
         Case No. RG11605301 (Alameda Superior Court) ........................................ 8
  8
       Thornburg v. Gingles,
  9      478 U.S. 30 (1986) .................................................................................18, 20
 10
       Vecinos De Barrio Uno v. City of Holyoke,
  11     72 F.3d 973 (1st Cir. 1995) ........................................................................... 17
 12
       Wash. State Grange v. Wash. Republican Party,
 13      552 U.S. 442 (2008) .............................................................................passim
 14
       Wash. State Republican Party v. Wash. State Grange,
 15      2011 U.S. Dist. LEXIS 2448 (W.D. Wash. Jan. 11, 2011).............................. 6
 16    Wash. State Republican Party v. Wash. State Grange,
 17      676 F.3d 784 (9th Cir. Jan. 19, 2012) .................................................. passim
 18    Wash. State Republican Party v. Wash. State Grange,
 19
         Case No. 05-cv-00927-JCC (W.D. Wash.) ................................................... 6
 20    Whitcomb v. Chavis,
 21
         403 U.S. 124 (1971) ....................................................................... 2, 17, 18, 19

 22    White v. Regester,
         412 U.S. 755 (1973) ....................................................................................... 18
 23

 24    Winstead v. Stodola,
         2007 U.S. Dist. LEXIS 68049 (E.D. Ark. Sept. 13, 2007) ........................... 21
 25

 26
       Wolfe v. Strankman,
         392 F.3d 358 (9th Cir. 2004) ....................................................................... 10
 27

 28


       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                                  CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                                           Page vi
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 8 of 34 Page ID #:359




   1
       STATUTES

  2       Section 2 of the federal Voting Rights Act (42 U.S.C. § 1973) ............. passim
  3
          Cal. Elec. Code § 359.5 .................................................................................. 4
  4
          Cal. Elec. Code § 2151 .....................................................................................3
  5
          Cal. Elec. Code § 8002.5(b) ...........................................................................3
  6

  7       Cal. Elec. Code § 8141.5 ................................................................................. 4
  8       Cal. Elec. Code § 15452 ................................................................................. 4
  9
          Cal. Elec. Code §§ 8300-8304 .......................................................................3
 10
          Cal. Elec. Code § 13302(b) .............................................................................5
  11

 12

 13    U.S. CONSTITUTION
 14
          U.S. CONST. art. I, § 4, cl. 1 (Elections Clause) .............................................. 8
 15
          U.S. CONST. art. IV, § 2, cl. 1 (privileges & immunities) ............... 1, 10, 21, 22
 16

 17
          U.S. CONST. amend. I .............................................................................. 12, 13

 18       U.S. CONST. amend. XIV (equal protection) ..................................... 10, 14, 15
 19       U.S. CONST. amend. XIV (due process) .............................................. 9, 10, 12
 20
          U.S. CONST. amend. XIV (privileges & immunities) ..................... 1, 10, 21, 22
 21
          U.S. CONST. amend. XV ..................................................................... 14, 15, 16
 22

 23

 24    CALIFORNIA CONSTITUTION
 25
          CAL. CONST. art. II, § 5 ................................................................................3, 4
 26

 27

 28


       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                                  CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                                           Page vii
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 9 of 34 Page ID #:360




   1

  2    OTHER AUTHORITIES
  3
          Fed. R. Civ. Proc. 12(b)(1) ............................................................................ 10
  4
          Fed. R. Civ. Proc. 12(b)(6) ................................................................. 10, 11, 14
  5
          S. Rep. No. 97-417 (1982) ............................................................................ 18
  6

  7       (Cal.) Senate Bill 6 (2009-2010 Reg. Sess.), codified at Cal. Stats.
             2009, ch. 1 .................................................................................................3
  8

  9

 10

  11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                                            Page viii
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 10 of 34 Page ID #:361




   1                            NOTICE OF MOTION & MOTION
   2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   3          Please take notice that on October 1, 2012, at 1:30 p.m., or as soon
   4   thereafter as the parties may be heard, the Intervener-Defendants in this
   5   action will move this Court, at the United States Courthouse located at 312 N.
   6   Spring Street, Los Angeles, California, 90012, Courtroom #15 (Room #163),
   7   for dismissal of the First Amended Complaint under Federal Rule of Civil
  8    Procedure 12(b)(1) and (6), on the grounds that (1) the Court lacks
   9   jurisdiction over the associational claim contained in the First Claim for
  10   Relief, because Plaintiff lacks standing to raise that claim, and (2) each of the
  11   Claims for Relief contained in the first amended complaint fail to state a claim
  12   upon which relief can be granted.
  13          Therefore, Interveners respectfully request that the Court:
  14          1.     Dismiss the Plaintiff’s first amended complaint with prejudice;
  15          2.     Award Interveners costs of suit; and
  16          3.     Award Interveners any other relief to which they are entitled.
  17          This motion is based on the following documents: this notice of motion
  18   and motion; the attached points and authorities; all the other papers,
  19   documents, or exhibits on file or to be filed in this action to the extent they
  20   are judicially-noticeable; and the argument to be made at any hearing on the
  21   motion ordered by the Court.
  22          This motion is made following the conference of counsel pursuant to
  23   L.R. 7-3 which took place on August 15, 2012.
  24   ///
  25   ///
  26   ///
  27   ///
  28   ///

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                             Page ix
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 11 of 34 Page ID #:362




   1                                                  Respectfully submitted,
   2   Dated: August 16, 2012                         NIELSEN MERKSAMER
   3
                                                         PARRINELLO GROSS & LEONI LLP

   4                                                  By:/s/     Marguerite Mary Leoni              .
   5                                                             Marguerite Mary Leoni
   6
                                                      By:/s/     Christopher E. Skinnell            .
   7                                                             Christopher E. Skinnell
  8                                                   INDEPENDENT VOTER PROJECT,
   9                                                  CALIFORNIANS TO DEFEND THE
                                                      OPEN PRIMARY, ABEL MALDONADO
  10
                                                      AND DAVID TAKASHIMA
  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28


       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                     CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                               Page x
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 12 of 34 Page ID #:363




   1                                 POINTS & AUTHORITIES
   2   I.     INTRODUCTION.
   3          Though the Plaintiff has filed an amended complaint, it suffers from the
   4   same defects as the initial complaint and should be dismissed for failure to
   5   state a claim.       For the same reasons that this Court already found that
   6   Plaintiff “[wa]s not likely to succeed on the merits and that she has failed to
   7   raise a serious question” regarding her claims, this case should be dismissed
  8    for failure to state a claim. Simply put, the first amended complaint has not
   9   remedied the fundamental defect of the original complaint: the failure to
  10   allege a cognizable constitutional or statutory claim for relief.
  11          Ultimately, Plaintiff’s objection to Proposition 14 is ideological, not
  12   constitutional. Plaintiff frankly admits that she is a Democratic voter in a
  13   predominantly Republican congressional district, who objects to that fact and
  14   who objects to the nomination and election under California’s Top Two
  15   Candidate Open Primary Act, Proposition 14, of Republican candidates with
  16   whom she disagrees, and who wishes to be able to cast a ballot for a candidate
  17   whose ideology she finds more congenial. But neither the U.S. Constitution
  18   nor the federal Voting Rights Act guarantees any person the right to be
  19   represented by a person with whom one agrees, nor is there a constitutional
  20   or statutory right not to lose elections. Plaintiff’s first amended complaint has
  21   thus stated no claim on which relief can be granted.
  22          Insofar as she alleges a violation of her “right” and the “right” of other
  23   Democratic voters to vote for a Democratic candidate in the congressional
  24   and state elections, she lacks standing to bring such a claim.                         Under
  25   established case law, any such “freedom of association” claim could only be
  26   brought by the Democratic Party itself. Moreover, on the merits, her claims
  27   are foreclosed by two controlling cases: Wash. State Grange v. Wash.
  28   Republican Party, 552 U.S. 442 (2008) (“Washington I”), and Wash. State

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                              Page 1
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 13 of 34 Page ID #:364




   1   Republican Party v. Wash. State Grange, 676 F.3d 784 (9th Cir. Jan. 19,
   2   2012) (“Washington II”). Those case rejected facial and as-applied “freedom
   3   of association” claims leveled against the top-two primary in Washington
   4   State on which Proposition 14 was closely modeled.
   5          Insofar as she alleges a violation of the Fourteenth and Fifteenth
   6   Amendments, based on the fact that African American voters prefer
   7   Democratic candidates, and Democratic candidate may not reach the general
  8    election in some congressional districts—such as her congressional district
   9   (CD 8) this November—she has failed to allege that Proposition 14 was
  10   adopted by California’s voters for a racially discriminatory purpose. Indeed,
  11   the ballot materials show that Proposition 14 was adopted for the purpose of
  12   reforming California’s political system.
  13          Insofar as Plaintiff alleges a violation of Section 2 of the Voting Rights
  14   Act, her argument boils down to the bare premise that—as an African
  15   American Democrat—she has the absolute right to vote for a Democratic
  16   candidate. Unfortunately for Plaintiff, that is simply not the law. “The Voting
  17   Rights Act does not guarantee that nominees of the Democratic Party will be
  18   elected, even if black voters are likely to favor that party’s candidates.” Baird
  19   v. Consolidated City of Indianapolis, 976 F.2d 357, 361 (7th Cir. 1992), cert.
  20   denied, 508 U.S. 907 (1993). “It is a balm for racial minorities, not political
  21   ones—even though the two often coincide.” Id. (citing Whitcomb v. Chavis,
  22   403 U.S. 124, 153 (1971)).
  23          And finally, Plaintiff’s claim that Proposition 14 violates her “privileges
  24   and immunities” is an obvious “Hail Mary,” which runs headlong into federal
  25   case law holding that the right to vote does not fall within the privileges and
  26   immunities clause of either Article IV, § 2, or the Fourteenth Amendment.
  27          For all these reasons, the first amended complaint should be dismissed.
  28   And, as no amendment could cure the defects in this litigation, leave to

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                              Page 2
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 14 of 34 Page ID #:365




   1   amend should be denied.
   2   II.    FACTUAL BACKGROUND & LITIGATION HISTORY.
   3          A.     Proposition 14 (Top Two Candidate Open Primary Act).
   4          Proposition 14, approved by California voters on June 8, 2010, is one of
   5   a series of reforms adopted by Californians in an effort to fix their
   6   dysfunctional government, which is plagued with extreme partisanship.
   7          Proposition 14 amended the state Constitution to abolish political party
  8    primaries and replace them with a type of nonpartisan open primary election
   9   known as “top two,” or “voter-nominated” primary election. Under the prior
  10   system, only candidates and voters registered with a qualified political party
  11   could participate in that party’s primary election; the top vote-getter in each
  12   party’s primary became the party’s official nominee, and each qualified party
  13   was guaranteed a place on the general election ballot for its nominee.
  14   Decline-to-State (“DTS”) voters and those affiliated with non-qualified parties
  15   were prohibited from participating in the primary, where the election was
  16   often effectively decided.1 And candidates unaffiliated with a qualified party
  17   were excluded from the primary, and could access the general election ballot
  18   only through the more stringent “independent” nomination process (see Elec.
  19   Code §§ 8300-8304), or write-in candidacies.
  20          Under Proposition 14 and its implementing legislation, SB 6,2 the
  21   political parties no longer control the primary. Instead, any candidate may
  22   run in the primary for congressional or state elective office (now called “voter-
  23   nominated” offices), and any voter may vote at the primary election for any
  24   candidate. See CAL. CONST. art. II, § 5 (as amended by Proposition 14); Elec.
  25

              1 DTS voters are voters who decline to register with any political party.
                                                                                      DTS
  26
       voters could not vote in any party’s primary under the former system, unless the
  27
       party permitted it. See Elec. Code § 2151. Voters affiliated with a non-qualified
  28   party (or “political body”) could not participate at all.
              2 Senate Bill 6 (2009-2010 Reg. Sess.), codified at Stats. 2009, ch. 1.

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                              Page 3
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 15 of 34 Page ID #:366




   1   Code § 8002.5(b).3 The two candidates receiving the highest vote totals for
   2   each office at the primary then compete for the office at the ensuing general
   3   election. See CAL. CONST. art. II, § 5; Elec. Code §§ 8141.5 and 15452. Though
   4   the candidates may list their personal party “preference” on the ballot, the
   5   candidate is not the party’s nominee, and no party is guaranteed a place on
   6   the general election ballot unless its preferred candidate is one of the top two
   7   vote-getters. Id. Except for the candidate’s ability to list his or her party
  8    “preference” on the ballot, this system works much like the nonpartisan
   9   general/runoff system by which many local officials in California are elected.
  10
              B.     Proposition  14    Was    Consciously    Modeled    On
  11                 Washington State’s Top-Two System, Which Has Been
                     Upheld Against Both Facial & As-Applied Challenges.
  12

  13
                     1.      Wash. State Grange v. Wash. Republican Party,
                             552 U.S. 442 (2008) (“Washington I”).
  14

  15          California’s 1998 “blanket primary” law (Proposition 198), in which
  16   voters could vote for any candidate at the primary without regard to party
  17   affiliation and in which the top vote-getter from each party advanced to the
  18   general election as the party’s nominee, was struck down in Cal. Democratic
  19   Party v. Jones, 530 U.S. 567 (2000), on the ground that it violated the
  20   political parties’ associational rights by forcing them to accept—as the party’s
  21   official nominee and “standard-bearer”—candidates chosen by other parties’
  22   voters, with whom the party might not even wish to associate. At the time,
  23   the State of Washington had an identical system, which was also enjoined.4
  24          In response, and based on language in Jones itself, the voters of
  25          3 “Voter-nominated offices” include: (1) Governor; (2) Lieutenant Governor;

  26   (3) Secretary of State; (4) State Treasurer; (5) Controller; (6) State Insurance
       Commissioner; (7) Member of the Board of Equalization; (8) Attorney General; (9)
  27
       State Senator; (10) Member of the Assembly; (11) United States Senator; (12)
  28   Member of the U.S. House of Representatives. Elec. Code § 359.5
             4 Democratic Party v. Reed, 343 F.3d 1198 (9th Cir. 2003).

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                              Page 4
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 16 of 34 Page ID #:367




   1   Washington adopted a top-two primary system in 2004, known as I-872.
   2   Several of Washington’s political parties immediately challenged I-872,
   3   claiming it violated Jones. In Washington I, 552 U.S. at 442, the Supreme
   4   Court rejected the plaintiffs’ facial challenge to Washington’s system,
   5   distinguishing Jones on the ground that—unlike the blanket primary—the
   6   top-two primary does not actually choose party nominees.                             Though
   7   candidates may express a personal preference for a party on the ballot, to
  8    inform the voters, those candidates are not the parties’ nominees; the parties
   9   are free to endorse candidates, and to publicize their support to the voters.
  10          Proposition 14 was explicitly modeled on the Washington system,
  11   taking its cue from the Court’s ruling in Washington I. See Interveners’
  12   Request for Judicial Notice, filed July 6, 2012 (Dkt. #21, hereafter “RJN”), p.
  13   15 of 49 (Text of Prop. 14). Like the Washington system, under Proposition 14
  14   the primary does not choose the parties’ nominees, though candidates may
  15   share their party “preference” with the voters. The parties, however, remain
  16   free to endorse candidates, and Proposition 14 even permits the parties to
  17   print a list of their endorsements in the sample ballot. See Elec. Code §
  18   13302(b).
  19                 2.      As-Applied Claims Were Rejected In Wash. State
                             Republican Party v. Wash. State Grange, 676 F.3d
  20
                             784 (9th Cir. Jan. 19, 2012) (“Washington II”).
  21
              The claim rejected by the Supreme Court in Washington I was a facial
  22
       challenge to I-872. Left undecided by the Supreme Court’s opinion was an as-
  23
       applied constitutional challenge, based on the premise that Washington
  24
       voters might be confused as to whether candidates who express a “preference”
  25
       for the party are the party’s nominee. The Court remanded the case for
  26
       further proceedings on the as-applied claim.
  27
              On remand, the Washington State political party plaintiffs advanced (1)
  28
       their as-applied “confusion”/forced association claims, (2) a challenge
       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                              Page 5
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 17 of 34 Page ID #:368




   1   alleging that minor parties may have difficulty advancing to the general
   2   election, (3) trademark claims, and (4) claims pertaining to the election of
   3   party officers in Washington. On August 20, 2009, the federal district court
   4   granted the State’s motion to dismiss the ballot access claim. See RJN, pp.
   5   18-46 of 49 (Aug. 20, 2009, order in Wash. State Republican Party v. Wash.
   6   State Grange, Case No. 05-cv-00927-JCC (W.D. Wash.)). The plaintiffs and
   7   defendants (the State of Washington and the Grange) then filed cross-
  8    motions for summary judgment on the remaining claims. The district court
   9   granted summary judgment in favor of the defendants on the as-applied claim
  10   and trademark claims, and granted summary judgment to the plaintiffs on the
  11   party officer claims. Wash. State Republican Party v. Wash. State Grange,
  12   2011 U.S. Dist. LEXIS 2448 (W.D. Wash. Jan. 11, 2011). The plaintiff political
  13   parties appealed the dismissal of their ballot access claims and the grant of
  14   summary judgment on the “confusion” and trademark claims.
  15          On January 19, 2012, the Ninth Circuit unanimously affirmed the trial
  16   court’s rulings, holding that (1) the minor parties’ associational rights were
  17   not unconstitutionally infringed by the difficulties their preferred candidates
  18   may face in advancing to the general election ballot, (2) the plaintiffs had
  19   failed to create a triable issue of fact with respect to the as-applied
  20   “confusion” issue, and (3) that plaintiffs had failed to state a claim for
  21   trademark violation. Washington II, 676 F.3d 784 (9th Cir. Jan. 19, 2012).5
  22          C.     Prior Unsuccessful Litigation Against Proposition 14.
  23          This is not the first court to be presented with a challenge to Proposition
  24   14. Indeed, Proposition 14 has been subject to sustained (and unsuccessful)
  25   legal attack since shortly after its adoption in 2010.
  26
              5 The Washington Democratic and Libertarian Parties have filed petitions for
  27
       certiorari in this case (Case Nos. 11-1263 and 11-1266). The Respondents filed
  28   responses on June 22, and the brief has been distributed for conference on
       September 24, 2012.
       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                              Page 6
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 18 of 34 Page ID #:369




   1                 1.      Field v. Bowen (S.F. Superior Court/Cal. Ct. App.).
   2          In July 2010, six plaintiffs brought a challenge to Proposition 14 and SB
   3   6 in San Francisco Superior Court, arguing that (1) it is unconstitutional to
   4   allow candidates to state a preference only for “qualified” political parties;
   5   and (2) it is unconstitutional to prevent voters from casting write-in ballots at
   6   the general election. Based on those contentions, the plaintiffs argued that
   7   Proposition 14 and SB 6 must be enjoined in their entirety, and the pre-
  8    Proposition 14 partisan system should be reinstated. The trial court granted a
   9   motion by IVP, CADOP and Mr. Maldonado to intervene in that action.
  10          Plaintiffs unsuccessfully sought a preliminary injunction from the trial
  11   court, and from the First Appellate District and California Supreme Court.6
  12          On September 19, 2011, the Court of Appeal issued a unanimous,
  13   published, thirty-page opinion affirming the trial court’s denial of a
  14   preliminary injunction, and rejecting plaintiffs’ claims on the merits as a
  15   matter of law. Field v. Bowen, 199 Cal. App. 4th 346 (1st Dist. 2011).
  16          Judgment was entered in that action on behalf of the defendants and
  17   interveners (including IVP, CADOP and Mr. Maldonado) on January 27,
  18   2012. The time for Plaintiffs to appeal that judgment has long since passed.
  19                 2.      Chamness v. Bowen (C.D. Cal.).
  20          In February 2011, while the appeal in Field was pending, a new case was
  21   filed in this Court, raising claims very similar to those in Field. Chamness v.
  22   Bowen, Case No. 11-cv-01479-ODW-FFM (C.D. Cal. filed Feb. 17, 2011). IVP,
  23   CADOP and Mr. Maldonado intervened as defendants in that action as well.
  24          Following unsuccessful attempts, in both the district court and Ninth
  25   Circuit,7 to get a preliminary injunction against the use of Proposition 14 at
  26
              6 Field v. Superior Court, Case No. A129829 (Cal. Ct. App. 1st Dist.) (writ
  27
       denied Oct. 14, 2010); Field v. Superior Court, Case No. S188436 (Cal.) (writ denied
  28   Dec. 15, 2010).
             7 See Chamness v. Bowen, Case No. 11-55534 (9th Cir. filed Mar. 30, 2011).

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                              Page 7
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 19 of 34 Page ID #:370




   1   the 2012 elections, the federal plaintiffs moved for summary judgment. On
   2   August 23, 2011, Judge Otis D. Wright II denied plaintiffs’ motion and sua
   3   sponte granted summary judgment on behalf of the defendants and
   4   interveners. Chamness v. Bowen, 2011 U.S. Dist. LEXIS 94876 (C.D. Cal.
   5   Aug. 23, 2011).         The Chamness plaintiffs immediately filed an appeal.
   6   Chamness v. Bowen, Case No. 11-56449 (9th Cir. filed Aug. 24, 2011). The
   7   Ninth Circuit denied Appellants’ motion to expedite the appeal to resolve it
  8    before the 2012 elections; the appeal is briefed and awaits oral argument.
   9          3.     Rubin v. Bowen (Alameda Superior Court).
  10          A third suit challenging Proposition 14 was filed on November 21, 2011,
  11   in Alameda County Superior Court. Rubin v. Bowen, Case No. RG11605301.
  12   The Rubin plaintiffs alleged that (1) Proposition 14 will make it more difficult
  13   for minor parties to have their preferred candidates advance to the general
  14   election, and thereby unduly burdens the rights of minor parties and their
  15   supporters to ballot access at the general election; (2) voters were likely to be
  16   “confused” by the fact that candidates may indicate their party “preference”
  17   on the ballot into thinking such candidates are the parties’ “standard-bearer”;
  18   and (3) Proposition 14 violates the Elections Clause of the U.S. Constitution.
  19          On January 13, 2012, the plaintiffs filed a motion to preliminarily enjoin
  20   the use of Proposition 14 at the 2012 elections. The Secretary of State filed a
  21   demurrer, in which IVP, CADOP, Mr. Maldonado and Mr. Takashima (as
  22   Interveners) joined, and the Secretary and Interveners both opposed the
  23   motion for preliminary injunction. On April 24, 2012, the court denied the
  24   motion for preliminary injunction and sustained demurrers, with leave to
  25   amend, as to each of the three causes of action alleged in the original
  26   complaint, based largely on the rulings in Washington I and Washington II.
  27          The plaintiffs in Rubin filed an amended complaint in May 2012,
  28   seeking to re-characterize their claims as as-applied challenges, rather than

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                              Page 8
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 20 of 34 Page ID #:371




   1   facial challenges. The Secretary of State and Interveners demurred to the
   2   amended complaint as well. A hearing on the pending demurrers is presently
   3   set for September 25, 2012.
   4          D.     Previous proceedings in this case.
   5          Plaintiff initially filed this action June 26, 2012, seeking to enjoin the
   6   Secretary of State from issuing certificates of election to the two candidates
   7   for Congress who were nominated to advance to the November 2012 general
  8    election in her congressional district (CD 8). Plaintiff alleged violations of the
   9   First, Fourteenth and Fifteenth Amendments; the federal Voting Rights Act,
  10   and substantive due process. She sought interim relief in the form of a
  11   preliminary injunction preventing the two “Republican” candidates from
  12   advancing to the general election in November.
  13          Following oppositions by Defendant Secretary and by Interveners, the
  14   proponents of Proposition 14, and Plaintiff’s reply, this Court ruled that
  15   Plaintiff had failed to show a likelihood of success on the merits of her claims,
  16   or even a serious question; and that the balance of hardships favored denial of
  17   the requested injunction.
  18          Plaintiff filed a first amended complaint (“FAC”) on July 31, 2012.
  19   III. KEY ALLEGATIONS IN THE FIRST AMENDED COMPLAINT.
  20          Plaintiff in this case seeks declaratory and injunctive relief against the
  21   implementation of Proposition 14 in November and thereafter.
  22          The essence of Plaintiff’s claim is that she and other Democrats have the
  23   constitutional right and the right under Section 2 of the federal Voting Rights
  24   Act to vote for a candidate with whose opinions they agree—namely a
  25   Democrat. Plaintiff wants Proposition 14’s system of non-partisan primary
  26   elections eliminated and the prior system of partisan primary elections
  27   restored, so that a Democrat is assured of advancing to the general election.
  28   (FAC, Prayer ¶ 6).

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                              Page 9
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 21 of 34 Page ID #:372




   1          Plaintiff alleges that Proposition 14 violates Section 2 of the Voting
   2   Rights Act (and the First, Fourteenth and Fifteenth Amendments to the U.S.
   3   Constitution) because it dilutes the right of African Americans to vote for
   4   Democrats by creating a substantial likelihood that in some electoral districts,
   5   like Congressional District 8, a Democrat will not be among the Top Two vote
   6   getters in the Primary Election. (FAC, ¶¶ 3 and 11(c).)
   7          Plaintiff further alleges that Proposition 14 violates the 14th
  8    Amendment to the United States Constitution by abolishing Plaintiff’s and
   9   Democrats’ alleged right to have a Democratic party representative in the
  10   general election for Congress in violation of their associational rights and
  11   right to equal protection, due process, as well as the privileges and
  12   immunities clauses. (FAC, ¶¶ 18-29.)
  13
       IV.    STANDARD GOVERNING MOTIONS TO DISMISS UNDER
  14          FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1) & (6).
  15          A.     Challenge to Standing Under Federal Rule 12(b)(1).
  16          A challenge to standing is properly raised in an FRCP 12(b)(1) motion to
  17   dismiss for lack of subject-matter jurisdiction. Chandler v. State Farm Mut.
  18   Auto. Ins. Co., 598 F.3d 1115, 1122 (9th Cir. 2010). A jurisdictional challenge
  19   under FRCP 12(b)(1) may be made on the face of the pleadings or in a factual
  20   attack, disputing the truth of the allegations in the pleading. Wolfe v.
  21   Strankman, 392 F.3d 358, 362 (9th Cir. 2004). ”In a facial attack, the
  22   challenger asserts that the allegations contained in a complaint are
  23   insufficient on their face to invoke federal jurisdiction.” Id. (internal
  24   quotations omitted). If the motion is a facial attack, the court must accept all
  25   facts pled in the complaint as true and draw all reasonable inferences in favor
  26   of the plaintiff.
  27

  28


       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                             Page 10
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 22 of 34 Page ID #:373




   1          B.     Failure To State A Claim Under Federal Rule 12(b)(6).
   2          Under Federal Rule of Civil Procedure 12(b)(6), a claim may be
   3   dismissed because of the plaintiff’s “failure to state a claim upon which relief
   4   can be granted.” A motion to dismiss under Rule 12(b)(6) tests the legal
   5   sufficiency of a complaint. See Ileto v. Glock, Inc., 349 F.3d 1191, 1199-1200
   6   (9th Cir. 2003). A complaint may be dismissed as a matter of law for two
   7   reasons: (1) lack of a cognizable legal theory, or (2) insufficient facts under a
  8    cognizable theory. See Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001).
   9          In reviewing the motion, the Court will assume the truth of all factual
  10   allegations and will construe them in the light most favorable to the
  11   nonmoving party. See Gompper v. VISX, Inc., 298 F.3d 893, 895 (9th Cir.
  12   2002). However, the court is not bound to accept as true a legal conclusion
  13   couched as a factual allegation. “When there are well-pleaded factual
  14   allegations, a court should assume their veracity and then determine whether
  15   they plausibly give rise to an entitlement to relief.” Ashcroft v. Iqbal, 556 U.S.
  16   662, 679-80 (2009). However, the conclusions contained in the pleading “are
  17   not entitled to the assumption of truth.” Id. In other words, “conclusory
  18   allegations of law and unwarranted inferences are insufficient to defeat a
  19   motion to dismiss.” Fayer v. Vaughn, 649 F.3d 1061, 1064 (9th Cir. 2011)
  20   (citation and internal quotation marks omitted). Moreover, “[f]actual
  21   allegations must be enough to raise a right to relief above the speculative
  22   level, on the assumption that all the allegations in the complaint are true
  23   (even if doubtful in fact).” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555
  24   (2007) (citations omitted).
  25          In ruling on a motion under Rule 12(b)(6), the court may consider facts
  26   which may be judicially noticed, Mullis v. United States Bankruptcy
  27   Court, 828 F.2d 1385, 1388 (9th Cir. 1987), and matters of public record,
  28   including pleadings, orders, and other papers filed with the court. Mack v.

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                             Page 11
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 23 of 34 Page ID #:374




   1   South Bay Beer Distribs., 798 F.2d 1279, 1282 (9th Cir. 1986).
   2
       V.     EACH OF PLAINTIFF’S FOUR CLAIMS FOR RELIEF IS
   3          FATALLY DEFECTIVE, AND SHOULD BE DISMISSED WITH
              PREJUDICE.
   4

   5
              Plaintiff’s first amended complaint should be dismissed with prejudice

   6
       because it fails to state any cognizable claim, Plaintiff lacks standing to bring

   7
       one of her claims, and no amendment can cure the defects.

  8           A.     Plaintiff Lacks Standing To Bring Her First Claim For
   9
                     Relief, That Proposition 14 Violates The Freedom of
                     Association, And That Claim Is Also Foreclosed By Two
  10                 Controlling Cases: Washington I and Washington II.
  11          The main gravamen of Plaintiff’s “First Claim for Relief” seems to be
  12   that her right of association, and that of other Democrats, is infringed by the
  13   fact that she cannot vote for (“associate with”) a Democratic candidate at the
  14   general election because none advanced under the Top Two system.8 In other
  15   words, Plaintiff wishes to return to a partisan primary system in which only
  16   Democrats vote for their standard-bearer. That way, Plaintiff will not be
  17   faced in the general election with the prospect of voting for one of two
  18   Republicans. There is no merit whatsoever to Plaintiff’s claim.
  19                 1.      Plaintiff’s lack of standing.
  20          First of all, in the context of the regulation of the primary election
  21

  22          8 Plaintiff variously seeks to ground this claim in the Fourteenth Amendment,

       the First Amendment, the privileges and immunities clause, and substantive due
  23
       process. Ultimately, the specific constitutional provision relied upon is irrelevant,
  24   however, because the federal courts—including the Supreme Court and the Ninth
       Circuit—adjudicate election law claims under various constitutional provisions
  25
       “collectively using a single analytic framework.” Dudum v. Arntz, 640 F.3d 1098,
  26   1108 n.15 (9th Cir. 2011) (citing Anderson v. Celebrezze, 460 U.S. 780, 787 n.7
       (1983), and LaRouche v. Fowler, 152 F.3d 974, 987-88 (D.C. Cir. 1998)). See also
  27
       Partnoy v. Shelley, 277 F. Supp. 2d 1064, 1072 (S.D. Cal. 2003) (in resolving
  28   challenges to election laws courts employ the “same basic mode of analysis”
       regardless of the constitutional provision that plaintiffs claim is violated).
       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                             Page 12
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 24 of 34 Page ID #:375




   1   process the “right of association” is a right that belongs to the political party
   2   itself—not to individual voters.               This fact is amply demonstrated by the
   3   primary cases upon which Plaintiff relied in her unsuccessful motion for
   4   preliminary injunction: California Democratic Party v. Jones, supra, and
   5   Democratic Party of the United States of America v. Wisconsin ex rel. La
   6   Follette, 450 U.S. 107 (1981). Because this is a right belonging to the party,
   7   individual voters lack standing to raise such a claim. See Osburn v. Cox, 369
  8    F.3d 1283, 1287-88 (11th Cir.), cert. denied, 543 U.S. 943 (2004) (affirming
   9   district court’s dismissal of individual voters’ associational claim alleged in a
  10   challenge to Georgia’s open primary for lack of standing); Righeimer v. Jones,
  11   2000 U.S. Dist. LEXIS 13313 (E.D. Cal. Sept. 14, 2000) (in a challenge to
  12   California’s        1998     blanket       primary      system,    holding,        “the First
  13   Amendment associational rights at issue belong solely to the association,
  14   here, the Republican Party, not to any individual candidate or voter.”); Beck
  15   v. Ysursa, 2007 U.S. Dist. LEXIS 86928 (D. Idaho Nov. 27, 2007) (dismissing
  16   similar associational challenge to Idaho’s open primary). Because she lacks
  17   standing to bring this claim, Plaintiff’s First Claim for Relief should be
  18   dismissed without leave to amend.
  19                  2.     Failure to state a claim.
  20          Secondly, even if Plaintiff did have standing to bring this claim, there is
  21   no merit to it. As this Court recognized, in denying Plaintiff’s motion for
  22   preliminary injunction:
  23
              Plaintiff provides no citations to authority in support of her novel theory
  24          that she has a constitutional right to vote for a candidate from a party of
              her choice in a general election. Indeed, limitations on an individual
  25
              candidate’s access to the ballot are routinely upheld when those
  26          limitations are reasonable, nondiscriminatory, and further a state’s
  27
              important regulatory interests. Burdick[ v. Takushi], 504 U.S. [428,]
              434, 112 S. Ct. at 2063-64 [1992]. . . . Without relevant case law to
  28          support her assertion that such deprivations amount to a constitutional

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                             Page 13
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 25 of 34 Page ID #:376




   1
              violation, the Court cannot conclude that Plaintiff is likely to succeed on
              the merits of her claim or that she has raised a serious question.
   2
       Order Granting Ex Parte Application to Intervene & Denying Plaintiff’s
   3
       Motion for Preliminary Injunction (Dkt. #14), p. 4.
   4
              Not only is there no authority supporting Plaintiff’s claim, there is in
   5
       fact case law that effectively forecloses it: Washington I and Washington II.
   6
       Both of those cases expressly rejected “freedom of association” challenges to
   7
       Washington State’s top two primary law, on which Proposition 14 is closely
  8
       modeled.
   9
              Simply put, Plaintiff’s First Cause of Action is properly subject to
  10
       dismissal for failure to state a claim under Rule 12(b)(6) due to the “lack of a
  11
       cognizable legal theory.” Conservation Force v. Salazar, 646 F.3d 1240, 1242
  12
       (9th Cir. 2011) (quoting Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699
  13
       (9th Cir. 1990)).9 Again, in light of the binding Ninth Circuit and Supreme
  14
       Court precedents on this issue, amendment cannot cure the defects in this
  15
       Claim for Relief, so dismissal should be with prejudice.
  16

  17          B.     Plaintiff’s First And Second Claims For Relief Should Be
                     Dismissed, To The Extent They Allege Racial Vote
  18
                     Dilution In Violation Of The Fourteenth And Fifteenth
  19                 Amendments, Because They Fail To State A Claim.
  20          Plaintiff’s “Second Claim for Relief” alleges that Proposition 14 violates
  21   the Fifteenth Amendment, which provides in relevant part, “The right of
  22   citizens of the United States to vote shall not be denied or abridged by the
  23   United States or by any State on account of race, color or previous condition
  24   of servitude.” U.S. CONST. amend. XV, § 1. Likewise, her First Claim for
  25   Relief contains allegations that the rights of African American voters
  26   specifically will be abridged by the implementation of Proposition 14.
  27
              9 Indeed, if Plaintiff’s legal theories in this case were accepted, all nonpartisan
  28
       elections would seem to be unconstitutional as well.
       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                             Page 14
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 26 of 34 Page ID #:377




   1   However, to the extent that Plaintiff seeks to ground her complaint in these
   2   Civil War Amendments, she also fails to state a claim upon which relief can be
   3   granted.
   4          First of all, it is questionable whether the Fifteenth Amendment would
   5   even apply to the type of claim that Plaintiff brings. She does not claim that
   6   she is being denied the right to register and vote in general elections by virtue
   7   of her race; rather, she is essentially claiming that her vote will be diluted by
  8    virtue of her inability to vote for a candidate of her liking. “The Supreme
   9   Court has recognized that the Fifteenth Amendment protects the right to
  10   register and to vote, but it has never held or even suggested that vote dilution
  11   violates the Fifteenth Amendment.” Osburn, 369 F.3d at 1288 (citing Reno v.
  12   Bossier Parish Sch. Bd., 528 U.S. 320, 334 n.3 (2000) (“Bossier Parish II”)).
  13          More importantly, however, Plaintiff would only be entitled to relief
  14   under the Fourteenth and Fifteenth Amendment if she could prove that
  15   Proposition 14 was adopted for “a racially discriminatory purpose chargeable
  16   to the state.” Lucas v. Townsend, 967 F.2d 549, 551 (11th Cir. 1992) (per
  17   curiam). See also Reno v. Bossier Parish Sch. Bd., 520 U.S. 471, 481 (1997)
  18   (“Bossier Parish I”) (“Since 1980, a plaintiff bringing a constitutional vote
  19   dilution challenge, whether under the Fourteenth or Fifteenth Amendment,
  20   has been required to establish that the state or political subdivision acted with
  21   a discriminatory purpose.”); NAACP v. Jones, 131 F.3d 1317, 1321-22 (9th Cir.
  22   1997) (“the Equal Protection Clause is not implicated by classifications with
  23   disparate racial impact in the absence of discriminatory intent.”).
  24          The first amended complaint does not contain any allegation that the
  25   voters of California adopted Proposition 14 for a racially discriminatory
  26   purpose.       To the contrary, the voter pamphlet materials prepared in
  27   connection with that measure, and distributed to the voters (which is
  28   judicially-noticeable and therefore properly considered in connection with

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                             Page 15
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 27 of 34 Page ID #:378




   1   this motion), clearly demonstrates that no such illicit motive did underlie the
   2   voters’ decision—rather, California’s voters adopted Proposition 14 for the
   3   purpose of reforming their dysfunctional government, to:
   4          • “Reduce gridlock by electing the best candidates to state office and
   5               Congress, regardless of political party;
   6          • “Give independent voters an equal voice in primary elections; and
   7          • “Elect more practical individuals who can work together for the
  8                common good.”
   9   See RJN, supra, p. 14 of 49 (Rebuttal To Argument Against Proposition 14).
  10          Absent proof of a racially discriminatory purpose underlying
  11   Proposition 14, no claim can be stated under the Fourteenth and Fifteenth
  12   Amendment, and the First and Second Claims for Relief should be dismissed
  13   for failure to state a claim. Moreover, because the judicially-noticeable ballot
  14   pamphlet demonstrates that a non-discriminatory motive underlay the
  15   adoption of Proposition 14, granting leave to amend these Claims for Relief
  16   would be futile and so the dismissal should be granted with prejudice.
  17
              C.      Plaintiff Third Claim For Relief Has Not Stated A Claim
  18                  Under Section 2 Of The Voting Rights Act.
  19          Plaintiff’s “Third Claim for Relief” urges that Proposition 14 violates
  20   Section 2 of the Voting Rights Act (42 U.S.C. § 1973), which makes it illegal to
  21   deny or abridge, on account of race, any person’s right to vote. In essence,
  22   Plaintiff’s claim boils down to a very simple premise: that because she is
  23   African American she has an absolute right to vote for a Democrat at the
  24   general election, because African American voters historically favor
  25   Democrats (and vice versa). Such is not the law. “The Voting Rights Act does
  26   not guarantee that nominees of the Democratic Party will be elected, even if
  27   black voters are likely to favor that party’s candidates.” Baird, 976 F.2d at
  28   361. “It is a balm for racial minorities, not political ones—even though the

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                             Page 16
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 28 of 34 Page ID #:379




   1   two often coincide.” Id. (citing Whitcomb, 403 U.S. at 153).
   2          As Plaintiff’s original Complaint, first amended complaint, and the
   3   election results from the 2012 primary in Plaintiff’s congressional district
   4   make clear, it is politics—not race—that resulted in two Republicans being
   5   nominated for the November election in Congressional District 8. First, it
   6   appears that the reason a Democrat did not advance to the general election is
   7   that the two Democratic candidates who ran (Jackie Conaway, wife of
  8    Plaintiff’s counsel of record, and John Pinkerton), split the vote. Had only
   9   one of them run, he or she could have garnered 24% of the vote in CD 8 and
  10   would have been the top vote-getter in a field featuring ten Republican
  11   candidates and one without a party preference (Anthony Adams, who was
  12   previously elected to the California Assembly as a Republican). See RJN,
  13   Exhibit D.10 In other words, Plaintiff’s preferred candidate lost, not because
  14   of vote dilution, but because of bad politics and poor strategic planning by
  15   Democrats.
  16          Second, as the first amended complaint itself acknowledges, CD 8 is one
  17   of the few left in California in which Republican voters have a substantial
  18   registration edge (of at least 10%) over Democratic voters.                   (FAC, ¶ 14.)
  19   Plaintiff has made no allegation that White voters in this District oppose
  20   Democratic candidates for racial reasons, rather than political ones. “[W]hen
  21   racial antagonism is not the cause of an electoral defeat suffered by a minority
  22   candidate, the defeat does not prove a lack of electoral opportunity but a lack
  23   of whatever else it takes to be successful in politics (say, failure to support
  24   popular programmatic initiatives, or failure to reflect the majority’s
  25   ideological viewpoints, or failure to appreciate the popularity of an
  26   incumbent). Section 2 does not bridge that gap—nor should it.” Vecinos De
  27          10Again, because these results are judicially-noticeable they are properly
  28   considered in connection with this motion. Mullis, 828 F.2d at 1388; Mack, 798
       F.2d at 1282.
       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                             Page 17
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 29 of 34 Page ID #:380




   1   Barrio Uno v. City of Holyoke, 72 F.3d 973, 981 (1st Cir. 1995). See also
   2   League of United Latin Am. Citizens, Council No. 4434 v. Clements, 999 F.2d
   3   831, 854 (5th Cir. 1993) (en banc) (“Electoral losses that are attributable
   4   to partisan politics do not implicate the protections of § 2.”).
   5          Instructive on this point is the Supreme Court’s decision in Whitcomb v.
   6   Chavis, cited above.11 In Whitcomb, the lower court had held that plaintiffs,
   7   African-American residents of Marion County, Indiana, had established that
  8    their voting strength had been diluted in state legislative elections. The lower
   9   court found that plaintiffs were a cognizable minority with political interests
  10   that differed from those of the white majority and that the at-large election
  11   structure prevented them from electing their share of the county’s
  12   representatives to the state legislature. 403 U.S. at 134-35. The Supreme
  13   Court reversed, concluding that cognizable minority status, plus a lack of
  14   success at the polls, did not equate to vote dilution. Id. at 148-49. The Court
  15   found nothing in the record to indicate that African-Americans “were not
  16   allowed to register to vote, to choose the political party they desired to
  17   support, to participate in its affairs or to be equally represented on those
  18   occasions when legislative candidates were chosen.” Id. at 149. The Court
  19   concluded that African-American-supported candidates lost not because of
  20

  21
              11 Whitcomb predated the 1982 amendments to Section 2, but those
       amendments were expressly intended to return the law of vote dilution after the
  22   plurality opinion in Mobile v. Bolden to the paradigm set forth in Whitcomb and
       White v. Regester: “Amended § 2 is intended to codify the ‘results’ test employed in
  23
       Whitcomb v. Chavis, 403 U.S. 124 (1971), and White v. Regester, 412 U.S. 755
  24   (1973), and to reject the ‘intent’ test propounded in the plurality opinion in Mobile
       v. Bolden, 446 U.S. 55 (1980). S. Rep. No. 97-417, pp. 27-28 (1982) (hereinafter S.
  25
       Rep.). Whereas Bolden required members of a racial minority who challenged
  26   impairment of their voting strength to prove that the challenged electoral system
       was created or maintained with a discriminatory purpose and led to discriminatory
  27
       results, under the results test, ‘plaintiffs may choose to establish discriminatory
  28   results without proving any kind of discriminatory purpose.’ S. Rep., at 28.”
       Thornburg v. Gingles, 478 U.S. 30, 83-84 (1986) (O’Connor, J., concurring).
       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                             Page 18
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 30 of 34 Page ID #:381




   1   their identification with the African-American community but because—just
   2   like in CD 8—they were Democrats in a Republican county. Id. at 152-53. The
   3   lower court’s finding that the “voting power” of the African-American
   4   community “may have been ‘cancelled out’ . . . seems a mere euphemism for
   5   political defeat at the polls.” Id. at 153. The Court elaborated:
   6
              On the record before us plaintiffs’ position comes to this: that although
   7          they have equal opportunity to participate in and influence the selection
              of candidates and legislators, and although [African Americans] vote[]
  8
              predominantly Democratic and that party slates candidates satisfactory
   9          to [them], invidious discrimination nevertheless results when [African
  10
              Americans], along with all other Democrats, suffer[] the disaster of
              losing too many elections. . . . The mere fact that one interest group or
  11          another concerned with the outcome of Marion County elections has
  12          found itself outvoted and without legislative seats of its own provides no
              basis for invoking constitutional remedies where, as here, there is no
  13
              indication that this segment of the population is being denied access to
  14          the political system.
  15   403 U.S. at 155.
  16          Instructive, too, is Osburn v. Cox, also cited above. In that case, the
  17   plaintiffs challenged, under Section 2, Georgia’s use of an open primary in the
  18   2002 Democratic primary in Congressional District 4. They alleged that the
  19   votes of African American voters for incumbent Congresswoman Cynthia
  20   McKinney were diluted by the “crossover” votes of white Republican voters
  21   who favored Ms. McKinney’s (ultimately successful) opponent, Denise
  22   Majette. The Eleventh Circuit held, “The facts alleged by Plaintiffs, i.e., that
  23   Republican voters crossed-over and voted for Majette rather than McKinney,
  24   do not demonstrate a violation of Section 2 of the Voting Rights Act. The
  25   Plaintiffs have not alleged facts to support a claim that the minority group has
  26   been excluded from meaningful access to the political process due to the
  27   interaction of racial bias in the community with the challenged voting
  28   system.” 369 F.3d at 1289.

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                             Page 19
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 31 of 34 Page ID #:382




   1          Finally, it is significant—and fatal to Plaintiff’s claim—that African
   2   Americans only comprise approximately 9% of the population of this District.
   3   (See FAC, ¶¶ 10 & 14.) Under such circumstances, there is no voting system
   4   that would allow African American voters to “elect their candidate of choice
   5   based on their own votes and without assistance from others. Recognizing a §
   6   2 claim in this circumstance would grant minority voters ‘a right to preserve
   7   their strength for the purposes of forging an advantageous political
  8    alliance.’ [Citations.] Nothing in § 2 grants special protection to a minority
   9   group’s right to form political coalitions. ‘[M]inority voters are not immune
  10   from the obligation to pull, haul, and trade to find common political ground.’”
  11   Bartlett v. Strickland, 556 U.S. 1, 14-15 (2009).
  12          In Bartlett, the Supreme Court held that minority voters who could
  13   constitute no more than 39% of the eligible voters in an electoral district
  14   could not state a claim for illegal vote dilution under Section 2. The Court
  15   held that minority voters cannot bring a claim under Section 2 unless they
  16   have the ability to elect a candidate on their own, and without the assistance
  17   of other voters, by constituting at least 50%+1 of eligible voters in the district.
  18   The Court explained:
  19          “[u]nless minority voters possess the potential to elect representatives
  20
              in the absence of the challenged structure or practice, they cannot claim
              to have been injured by that structure or practice.” [Thornburg v.
  21          Gingles,] 478 U.S. [30] at 50, n. 17 [1986]. . . . the
  22          first Gingles requirement (of a majority of eligible voters) is “needed to
              establish that the minority has the potential to elect a representative of
  23
              its own choice in some single-member district.” [Growe v. Emison,] 507
  24          U.S. [25] at 40 [1993]. Without such a showing, “there neither has been
              a wrong nor can be a remedy.” Id., at 41 . . . . There is a difference
  25
              between a racial minority group’s “own choice” and the choice made by
  26          a coalition.
  27   Bartlett, 556 U.S. at 15.
  28          In the same vein, there is no allegation in the Complaint that African

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                             Page 20
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 32 of 34 Page ID #:383




   1   American Democrats would have the “potential to elect a representative of
   2   [their] own choice” in Congressional District 8 in the absence of the Top Two
   3   Primary, or even that Democrats more generally would have the potential to
   4   elect a representative of their choice. (This is, after all, a district that has been
   5   represented by Republican congressmen for decades.)                     Given the small
   6   proportion of the District’s population that is African American, Plaintiff’s
   7   supposed claim under Section 2 is to a “right” to form a coalition with other,
  8    non-African American Democrats—a right that Bartlett expressly rejected.
   9          Because Plaintiff has failed to state a claim under Section 2—and
  10   because, as just discussed, such a claim is impossible in the Congressional
  11   District in which Plaintiff lives—the Third Claim for Relief should be
  12   dismissed with prejudice.12
  13
              D.     Plaintiff’s Fourth Claim For Relief Has Not Stated A
  14                 Claim Under The Privileges & Immunities Clauses Of The
                     Fourteenth Amendment Or Article IV, § 2, cl. 1.
  15

  16          Finally, as an obvious claim of last resort, Plaintiff seeks a declaration
  17   that Proposition 14 violates her rights under the Privileges & Immunities
  18   Clause of Article IV, § 2, cl. 1 of the United States Constitution and the
  19   Fourteenth Amendment. This claim, too, lacks merit.
  20          Article IV, § 2, cl. 1, provides that “The Citizens of each State shall be
  21   entitled to all Privileges and Immunities of Citizens in the several States.”
  22   “This clause requires only that states give to citizens of every other state the
  23
              12 Plaintiff lacks standing to challenge the operation of Proposition 14 in
  24   districts other than that in which she lives. See Lopez v. County of Merced, 473 F.
       Supp. 2d 1072, 1080 (E.D. Cal. 2007) (three-judge voting rights court) (“there can
  25
       be no infringement of a plaintiff’s right to vote in an election in which he or she is
  26   not eligible to vote.”); Winstead v. Stodola, 2007 U.S. Dist. LEXIS 68049, *7-*8
       (E.D. Ark. Sept. 13, 2007) (denying standing under the Voting Rights Act to
  27
       plaintiffs challenging councilmanic wards in Little Rock, even though plaintiffs
  28   resided in Little Rock and voted in City elections, because “Plaintiffs d[id] not allege
       that they reside in minority wards, or that their ward representative is [minority].”).
       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                             Page 21
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 33 of 34 Page ID #:384




   1   same privileges and immunities that their own citizens enjoy. See Hague v.
   2   Committee for Indus. Org., 307 U.S. 496, 511, 59 S. Ct. 954, 83 L. Ed. 1423
   3   (1939).” McKay v. Thompson, 226 F.3d 752, 757 (6th Cir. 2000), reh’g and
   4   reh’g en banc denied, 2000 U.S. App. LEXIS 27840 (6th Cir. Oct. 27, 2000),
   5   cert. denied, 532 U.S. 906 (2001). The provision does not restrict a State in
   6   its prescription of qualifications for elective office. Id. (rejecting application
   7   of constitutional provision to voter registration statutes in Tennessee);
  8    Baldwin v. Fish & Game Comm’n, 436 U.S. 371, 383 (1978).
   9          The Privileges & Immunities Clause of the Fourteenth Amendment is
  10   likewise inapposite. Johnson v. Bredesen, 624 F.3d 742, 752 (6th Cir. 2010),
  11   reh’g en banc denied, 2010 U.S. App. LEXIS 26390 (6th Cir. Dec. 17, 2010),
  12   cert. denied sub nom., Johnson v. Haslam, 563 U.S. __, 131 S. Ct. 2903 (U.S.
  13   2011) (“no authority recognizes the right to vote in federal elections as a
  14   privilege or immunity of United States citizenship. Indeed, dicta in several
  15   historical Supreme Court cases suggest the opposite.”).
  16          Because these two clauses do not apply to claims such as Plaintiff’s she
  17   is unable to state a claim upon which relief can be granted, and this Claim for
  18   Relief should be dismissed without leave to amend.
  19   VII. CONCLUSION.
  20          Each of the Claims for Relief contained in Plaintiff’s First Amended
  21   Complaint fails to state a claim upon which relief can be granted, and no
  22   amendment can cure the defects in those claims.                  Thus, the entire First
  23   Amended Complaint should be dismissed without leave to amend.
  24   ///
  25   ///
  26   ///
  27   ///
  28   ///

       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                    CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                             Page 22
Case 2:12-cv-05547-PA-SP Document 25 Filed 08/16/12 Page 34 of 34 Page ID #:385




   1                                                  Respectfully submitted,
   2   Dated: August 16, 2012                         NIELSEN MERKSAMER
   3
                                                         PARRINELLO GROSS & LEONI LLP

   4                                                  By:/s/     Marguerite Mary Leoni              .
   5                                                             Marguerite Mary Leoni
   6
                                                      By:/s/     Christopher E. Skinnell            .
   7                                                             Christopher E. Skinnell
  8
                                                      Attorneys for Intervener-Defendants
   9                                                  INDEPENDENT VOTER PROJECT,
  10
                                                      CALIFORNIANS TO DEFEND THE
                                                      OPEN PRIMARY, ABEL MALDONADO
  11                                                  AND DAVID TAKASHIMA
  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28


       _____________________________________________________________________________________________
       INTERVENERS’ MOTION TO DISMISS                                     CASE NO. 2:12-cv-05547-PA-SPx
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1),(6)                                              Page 23
